               Case 5:01-cv-01570-FJS-GJD              Document 108            Filed 10/01/08         Page 1 of 1
OAO450 (Rev. 5/85) Judgment in a Civil Case


                                    UNITED STATES DISTRICT COURT
                       Northern                         DISTRICT OF                                 New York


                      Patricia Curto
                                                                            JUDGMENT IN A CIVIL CASE

                             V.
                                                                            Case Number:       5:01-cv-1570 (FJS)(lead case)
             Donald W. Smith, Dean, et al.



G Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has
   rendered its verdict.

x Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and
   a decision has been rendered.

   IT IS ORDERED AND ADJUDGED


   That plaintiff’s motion to reopen case/vacate decision is Denied in its entirety and further

       That the plaintiff’s request to change venue is Denied as Moot.


   The above pursuant to an order entered by the Honorable Frederick J. Scullin, Jr. on September 30, 2008.




October 1, 2008                                                     Lawrence K. Baerman
Date                                                                Clerk




                                                                    (By) Deputy Clerk
                                                                            s/Barbara J. Woodford
